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 2
                             UNITED STATES DISTRICT COURT
 3                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 4

 5     HARMONY GOLD U.S.A., INC.,

                             Plaintiff,
 6
           v.                                           C17-327 TSZ
 7
       HAREBRAINED SCHEMES LLC,                         MINUTE ORDER
 8
       et al.,
 9                           Defendants.
10
        The following Minute Order is made by direction of the Court, the Honorable
11 Thomas S. Zilly, United States District Judge:

12        (1)    Plaintiff’s motion for leave to amend, docket no. 51, is GRANTED as
   follows. Plaintiff shall electronically file its Second Amended Complaint within seven
13 (7) days of the date of this Minute Order.
           (2)    Defendant Piranha Games Inc.’s motion for summary judgment regarding
14
   plaintiff’s lack of standing, docket no. 47, which was joined by defendants Harebrained
   Schemes LLC, Harebrained Holdings, Inc., and Jordan Weisman, docket no. 54, is
15
   STRICKEN without prejudice.
16        (3)    Plaintiff is ADVISED that, if the Court ultimately concludes that plaintiff
   lacks standing, the Court will consider imposing sanctions pursuant to Federal Rule of
17 Civil Procedure 11.

18          (4)    Pursuant to the parties’ stipulation, docket no. 81, the following dates and
     deadlines are continued as indicated:
19
            JURY TRIAL DATE                                         February 4, 2019
20

21          Disclosure of expert testimony                          June 1, 2018

22          Discovery motions filing deadline                       August 2, 2018

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 1
            Discovery completion deadline                         September 14, 2018
 2
            Dispositive motions filing deadline                   October 11, 2018
 3
            Motions in limine filing deadline                     January 3, 2019
 4
            Agreed pretrial order due                             January 14, 2019
 5
            Trial briefs, proposed voir dire questions, and
                                                                  January 14, 2019
 6          jury instructions due
                                                                  January 25, 2019
 7          Pretrial conference
                                                                  at 1:30 p.m.

 8 All other terms and conditions, and all dates and deadlines not inconsistent herewith,
   contained in the Minute Order Setting Trial Date and Related Dates, docket no. 35, shall
 9 remain in full force and effect.

10          (5)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
11
            Dated this 12th day of February, 2018.
12

13                                                    William M. McCool
                                                      Clerk
14
                                                      s/Karen Dews
15                                                    Deputy Clerk

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     MINUTE ORDER - 2
